                         UNITED STATES BANKRUPTCY COURT
                       WAW-WESTERN DISTRICT OF WASHINGTON


In re:                                                      Case No. 14-18758-TWD
         Leo Satriawan

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       K. Michael Fitzgerald, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 12/04/2014.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 02/27/2015.

         6) Number of months from filing to last payment: 1.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $182,586.45.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

         Total paid by or on behalf of the debtor                        $2,605.61
         Less amount refunded to debtor                                  $2,335.75

NET RECEIPTS:                                                                                                $269.86


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                             $0.00
    Court Costs                                                                       $0.00
    Trustee Expenses & Compensation                                                 $119.86
    Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                            $119.86

Attorney fees paid and disclosed by debtor:                           $1,500.00


Scheduled Creditors:
Creditor                                                 Claim         Claim          Claim       Principal      Int.
Name                                       Class       Scheduled      Asserted       Allowed        Paid         Paid
American Express                       Unsecured          4,108.00            NA            NA            0.00       0.00
Boeing Employee CR Union               Secured           16,551.00     16,112.53      16,112.53          39.72    110.28
Chase/Bank One Card Service            Unsecured         12,584.00            NA            NA            0.00       0.00
Christopher Mercado                    Unsecured                NA            NA            NA            0.00       0.00
Citicards CBNA                         Unsecured              16.00           NA            NA            0.00       0.00
CONDOMINIUM LAW GROUP                  OTHER                   0.00           NA            NA            0.00       0.00
Highlands at Woodbrook Community Org   Unsecured                NA           0.00          0.00           0.00       0.00
Highlands at Woodbrook Community Org   Unsecured                NA           0.00      6,573.23           0.00       0.00
K Michael Fitzgerald                   Unsecured                NA            NA            NA            0.00       0.00
U.S. Bankruptcy Court                  Unsecured                NA            NA            NA            0.00       0.00
United States Trustee                  Unsecured                NA            NA            NA            0.00       0.00
Wells Fargo Home Mortgage              Secured                  NA            NA            NA            0.00       0.00
Wells Fargo Home Mortgage              Secured          137,346.00            NA     137,346.00           0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                               $137,346.00              $0.00             $0.00
       Debt Secured by Vehicle                           $16,112.53             $39.72           $110.28
       All Other Secured                                  $6,573.23              $0.00             $0.00
 TOTAL SECURED:                                         $160,031.76             $39.72           $110.28

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00              $0.00             $0.00


Disbursements:

         Expenses of Administration                               $119.86
         Disbursements to Creditors                               $150.00

TOTAL DISBURSEMENTS :                                                                          $269.86


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/08/2015                             By:/s/ K. Michael Fitzgerald
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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